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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA,                       CRIMINAL ACTION NO.
                                                1:18-cr-00491-WMR-CCB-5
                   v.

CHADWICK OSBOURNE STEWART,

     Defendant.


                                    ORDER
      On October 22, 2021, Defendant Chadwick Osbourne Stewart consented to

tender a plea before the Magistrate Judge and pled guilty to Counts 1 and 5 of the

superseding indictment.   [Doc. 278.]    The Magistrate Judge “caution[ed] and

examin[ed] the Defendant on the record and under oath concerning each of the

subjects mentioned in Federal Rule of Criminal Procedure 11” and “determined that

(1) the Defendant has knowingly, voluntarily, and intelligently waived his

constitutional rights, (2) his guilty plea was knowing and voluntary, and (3) the

offenses charged in the indictment to which he is pleading guilty are supported by

an independent basis in fact establishing each of the essential elements of such

offenses.”   [Doc. 279 at 1.]      The Magistrate Judge issued a report and

recommendation (the “R&R”), which recommended that this Court accept Mr.
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Stewart’s guilty plea and adjudge him guilty. [Id. at 2.] Mr. Stewart did not object

to the R&R.

      The Court has reviewed Mr. Stewart’s plea, the plea agreement, the R&R, and

all other pertinent matters of record and agrees that Mr. Stewart’s guilty plea should

be accepted and that he should be adjudged guilty. Accordingly, the R&R [Doc.

279] is ADOPTED. Mr. Stewart’s guilty plea [see Doc. 278] is ACCEPTED and

Mr. Stewart is ADJUDGED guilty.

      IT IS SO ORDERED, this 15th day of November, 2021.




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